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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF NEW YORK
______________________________________
JOHN DOE,

        Petitioner/Judgment Creditor,        Case No: 15-MC-00023-GLS-CFH
                                             Judge Mae A. D'Agostino
v.

EJERCITO DE LIBERACION NACIONAL,
a/k/a ELN, a/k/a National Liberation Army,
and FUERZAS ARMADAS
REVOLUCIONARIOS DE COLOMBIA,
a/k/a FARC, a/k/a REVOLUTIONARY
ARMED FORCES OF COLOMBIA,

        Defendants/Judgment Debtors,

and

THE BANK OF NEW YORK MELLON

      Respondent,
_________________________________________
THE BANK OF NEW YORK MELLON
                                             RESPONSE IN OPPOSITION
        Third Party Petitioner,              TO MOTION TO STRIKE

v.

KEITH STANSELL, MARC GONSALVES,
THOMAS HOWES, JUDITH G. JANIS,
GREER C. JANIS, MICHAEL I. JANIS,
CHRISTOPHER T. JANIS, JONATHAN
JANIS, ANTONIO CABALLERO, GROUP
ARPOSFRAN EMRE PARTICACOA (A/K/A
GRUPO AROSFRAN EMPREENDIMENTOS
E PARTICIPACOES S.A.R.L.) OVLAS
TRADING, S.A., BANCO AFRICANO DE
INVESTIMENTOS, ANGOLA and
STANDARD CHARTERED BANK,

      Third Party Respondents.
________________________________________
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 RESPONSE IN OPPOSITION TO THIRD-PARTY CLAIMANTS GRUPO AROSFRAN
EMPREENDIMENTOS E PARTICIPACOES AND OVLAS TRADING, S.A.’S MOTION
         TO STRIKE PLAINTIFF JOHN DOE’S EXPERT AFFIDAVIT
       Petitioner/Judgment Creditor John Doe hereby files this Response in Opposition to Third

Party Claimants Grupo Arosfran Empreendimentos e Participacoes and Ovlas Trading, S.A.’s

Motion to Strike Plaintiff John Doe’s Expert Affidavit (“Motion to Strike”) and states as follows.

I.     Introduction.
       Third Party Claimants Grupo Arosfran Empreendimentos e Participacoes and Ovlas

Trading, S.A. (“Grupo” and “Ovlas”) seek to have the affidavit of David L. Gaddis (D.E. 8-2),

which was filed in support of Petitioner/Judgment Creditor John Doe’s Petition for Turnover

Directed at Bank of New York Mellon (D.E.8), stricken from the record on various grounds. All

of those grounds fail.

       Mr. Gaddis’s affidavit is not excludable due to violation of federal law. It does not

violate 18 U.S.C. § 2017(1) because the United States is not a party to this action and does not

have a direct and substantial interest in this case. Further, as Mr. Gaddis retired from the Drug

Enforcement Agency (“DEA”) in 2011, any two-year restriction would not bar him from

testifying in this matter in 2015.

       Grupo and Ovlas’s second argument, that the testimony should be excluded because it

allegedly violates laws preventing disclosure of internal Department of Justice and non-public

information, likewise fails. Even if the testimony did violate such rules, which it does not, there

is no exclusionary rule in civil proceedings, and Grupo and Ovlas, foreign corporations who the

United States has determined are Specially Designated Global Terrorists (“Global Terrorists”),

have no constitutional rights that could have been violated and that could be protected through an

exclusionary rule. Their invocation of the exclusionary rule is fanciful.




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       After claiming that Mr. Gaddis’s inside position at the DEA – and in particular his role

supervising the investigation of Kassim Tajideen and the companies related to him, including

Grupo and Ovlas – gave him access to too much specific information about the investigation and

enforcement actions in which Tajideen and his front corporations were targets to allow Mr.

Gaddis to testify against them, Grupo and Ovlas then turn and argue that Gaddis’s testimony

lacks factual basis and therefore fails to satisfy Federal Rule of Evidence 702 and Daubert. In

other words, they follow the argument that Mr. Gaddis knows too much with the argument that

he knows too little. Their invocation of Daubert is misplaced. Mr. Gaddis’s affidavit is in large

part factual. Their support for the proposition of striking it is totally inapposite.

       For all these reasons, the Motion to Strike should be denied.


II.   Mr. Gaddis’s affidavit should not be excluded based upon the argument that federal
law prohibits his testimony.

       A.      No post-government employment restrictions require exclusion.

       Grupo and Ovlas’s lead argument is that Mr. Gaddis’s testimony violates a federal law

that prohibits former federal employees from testifying in cases “in which the United States or

the District of Columbia is a party or has a direct and substantial interest.” 18 U.S.C. § 207(1).

“In essence, this prohibition is designed to prevent former government officials from using the

specific knowledge -- rather than any general expertise -- obtained during their employment for

the benefit of parties whose interests conflict with those of the United States.”

United States v. Rosen, 599 F. Supp. 2d 690, 2009 U.S. Dist. LEXIS 36142 (E.D. Va. 2009).

The Government is not a party to this action, and no real argument can be made that it has a

direct and substantial interest in this action, or that Petitioner/Judgment Creditor’s interests

conflict with those of the United States.




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       Grupo and Ovlas dig deep into 5 C.F.R. § 26401.201 (j) iii, a subsection of the

implementing regulation for Section 207(1), to make his argument. See Motion to Strike, p. 4.

That subsection, however, provides the factors that a “designated agency ethics official (DAEO)

for the former employee’s agency” (id.) should consider in the determination of whether the

United States has a direct and substantial interest. It specifically states, “The designated agency

ethics official (DAEO) for the former employee's agency shall have the primary responsibility

for coordinating this determination.” Id. These guidelines for administrators clearly are not

intended to create an exclusionary rule on behalf of a target of an agency action.

       Nonetheless, applying the factors that 5 C.F.R. § 26401.201 (j) iii provides1 supports the

conclusion that the U.S. does not have a “direct and substantial interest” in the matter. The

United States has made no claim to the blocked funds and thus has no financial interest in the

matter. Plaintiff/Judgment Creditor is making no challenge to any policy, program or operation

of any component of the U.S. Government. (In fact, Plaintiff/Judgment Creditor is referring to

and relying on the policies and programs of the U.S. Government, not challenging them). No

government agency is providing witness or documentary evidence in the matter.2 The interest of

the U.S. Government is little more than academic, in that OFAC simply wants to stay apprised of

where blocked funds are and are not. 31 C.F.R. § 501.605, cited by Grupo and Ovlas, requires

service of the proceedings on OFAC to fulfill its desire to stay apprised. That the United States,

1
 (A) The component has a financial interest in the matter
(B) The matter is likely to have an effect on the policies, programs, or operations of the
component;
(C) The component is involved in any proceeding associated with the matter, e.g., as by having
provided witnesses or documentary evidence; and
(D) The component has more than an academic interest in the outcome of the matter.
2
  That Gaddis’s affidavit refers to information published by OFAC, or sworn complaints filed by
the United States Attorney’s Office for the Southern District of New York, does not qualify as
any agency providing witnesses or documentary evidence.


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despite notice provided pursuant to that regulation, has chosen to take no action in this matter

leaves no doubt that it has determined it has no direct or substantial interest in it, and that

Petitioner/Judgment Creditor’s action does not conflict with it. The inquiry ends here.

       With respect to prongs (B) and (C), the great majority of the affidavit concerns not a

particular matter or a specific party, but the general knowledge of Mr. Gaddis, for example his

knowledge of “a major narco-terrorist smuggling and money laundering route in use for at least

the last decade under which FARC-generated cocaine was sold and transported to West Africa.

Hezobollah terrorists then delivered the product and laundered the proceeds.” See D.E. 8-2 at

par. 17. And where the affidavit is more specific, it often relies on published materials or refers

to sworn court documents. See id. at pars. 18, 20 and 22, quoting an OFAC publication and a

sworn complaint. Clearly, the great majority of the affidavit is not specific testimony about a

specific party.

       Finally, Mr. Gaddis resigned from the DEA in 2011, over four years ago, so any two-year

restriction contained in 18 U.S.C. § 207(1)(C) is inapplicable.

       B.     No laws prohibiting disclosure of internal Department of Justice and non-
       public information require exclusion or the striking of the affidavit.

       Grupo and Ovlas’s second argument, that the testimony should be excluded because it

allegedly violates laws preventing disclosure of internal Department of Justice and non-public

information, likewise fails. There is no exclusionary rule in civil proceedings. In fact, the very

case that Grupo and Ovlas rely upon for the proposition that “violations provide . . . grounds to

exclude his testimony” (Motion to Strike at p.8, D.E. 39 at p. 12), supports Petitioner’s, not

Grupo and Ovlas’s, position. In the case they cite, the Court said of the application of the

exclusionary rule,




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       The exclusionary rule is "an exceptional remedy typically reserved for violations
       of constitutional rights." United States v. Smith, 196 F.3d 1034, 1040 (9th Cir.
       1999); see also United States v. Calandra, 414 U.S. 338, 348, 94 S. Ct. 613, 38 L.
       Ed. 2d 561 (1974) (describing the exclusionary rule as a "judicially created
       remedy designed to safeguard Fourth Amendment rights generally through its
       deterrent effect"). The Supreme Court has held the Fourth Amendment
       exclusionary rule does not generally apply in immigration proceedings, because,
       "[c]onsistent with the civil nature of the proceeding, various protections that apply
       in the context of a criminal trial do not apply . . . ." INS v. Lopez-Mendoza, 468
       U.S. 1032, 1038, 104 S. Ct. 3479, 82 L. Ed. 2d 778 (1984); see also United States
       v. Janis, 428 U.S. 433, 447, 96 S. Ct. 3021, 49 L. Ed. 2d 1046 (1976) (The
       Supreme Court has "never . . . applied [the exclusionary rule] to exclude
       evidence from a civil proceeding, federal or state.")

Chuyon Yon Hong v. Mukasey, 518 F.3d 1030, 1034 (9th Cir. 2008) (emphasis added).

       Further, in Chuyon, the Court upheld a Board of Immigration Appeals decision that the

party seeking to employ the exclusionary rule, “as an alien holding her permanent alien status as

a result of criminal fraud, had no protected interests violated.” Id. at 1033. Likewise, Grupo and

Ovlas, foreign corporations who the United States has determined are Global Terrorists, have no

Constitutional rights that could have been violated and that could be protected through an

exclusionary rule. It is remarkable that they cite Chuyon, a ruling based on the twin pillars 1)

that the exclusionary rule has no role in civil proceedings, and 2) that it only serves to protect

Constitutionally protected rights.

III.  Mr. Gaddis’s affidavit should not be excluded on the grounds that it fails to satisfy
the Daubert requirements.
       After arguing that Mr. Gaddis has an “unfair advantage” (Motion to Strike at p. 3) and is

improperly testifying to inside information about the investigations in which Kassim Tajideen

and his companies were implicated and which lead the Department of the Treasury to designate

them as Global Terrorists, they change tack and argue that the affidavit lacks a factual basis.

They invoke Daubert v. Merrell Dow Pharmaceuticals, 509 U.S. 579 (1993), a case concerning

expert opinion testimony of a technical or scientific nature.



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        There is simply little argument that Mr. Gaddis’s affidavit lacks a factual basis. Mr.

Gaddis testifies to facts. Petitioner welcomes any counter-testimony or evidence that Grupo and

Ovlas may be able to provide. Petitioner looks forward to full discovery. But just because Mr.

Gaddis does not know everything about Grupo and Ovlas, it does not follow that his affidavit

should be stricken.

        Grupo and Ovlas’s support for the proposition of striking Mr. Gaddis’s affidavit is

inapposite. For example, Nimely v. City of New York, 414 F.3d 381, (2d Cir. 2005), concerned

purported expert testimony about the trial testimony of police officers in an excessive force case,

and the expert, addressing at trial the possibility that the officers had lied,

        "rejected" the possibility that Muirhead and McCarthy had lied, and explained
        various reasons why police officers have no incentive to give false statements in
        excessive force cases. On cross-examination Dawson reiterated his conclusion
        that the police officers were "telling the truth as they perceived it."

Nimely v. City of New York, 414 F.3d 381, 398 (2d Cir. 2005). Of course, in that case, the Court

ruled that his statements “essentially instructed the jury as to an ultimate determination that was

exclusively within its province, namely, the credibility of Muirhead and McCarthy.” Id. Here,

Mr. Gaddis’s affidavit testimony bears no resemblance to testimony concerning the credibility of

another witness’s testimony. Mr. Gaddis’s affidavit does not invade the province of any jury.

There is simply no support for the proposition that it be stricken.

        Likewise, In re Rezulin Prod. Liability Litig., 309 F.Supp.2d 531 (S.D.N.Y 2004), bears

little resemblance to the situation at hand. In that matter, purported expert witnesses on what

constitutes ethical behavior by a pharmaceutical company in fact admitted “that their opinions

concerning purported ethical standards are based on their personal, subjective views.”

In re Rezulin, 309 F.Supp.2d at 543. Their testimony failed to qualify as being based on any




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specialized knowledge, and so the exception to the general rule against opinion testimony for

experts did not apply.

       Here, the great bulk of Mr. Gaddis’s testimony is factual, not opinion at all. Its only

opinion, stated in the final paragraph – that Grupo and Ovlas are each an agency or

instrumentality of the FARC – is supported by the testimony placing Kassim Tajideen and these

companies at the nexus of the drug trafficking and money-laundering collaboration between

Hezbollah and the FARC. See Gaddis Aff. at pars. 15-30, D.E. 4-1 at pp. 5-14. Further, the

determination of agency/instrumentality is based on the plain and ordinary meaning of those

terms. Stansell v. Revolutionary Armed Forces of Columbia (sic), 771 F.3d 713, 732(11th Cir.

Fla. 2014) (“As the district court noted in its orders finding agency or instrumentality status, its

standard ‘us[ed] the plain and ordinary meaning of those terms.’ Claimants here give us no

reason to believe that any other standard is preferable or proper”). As such, it is not a legal

conclusion that only a lawyer is qualified to testify to, or a subjective determination that only a

jury can weigh, but rather one which someone with specialized knowledge of the relationship

between the FARC and Hezbollah money laundering and drug trafficking operations is uniquely

qualified to opine on. Cf. In re Rezulin, 309 F.Supp.2d at 546-547 (experts’ testimony making

inferences about “real motives” and making legal conclusion that conduct constituted negligence

disallowed).

       Of course, the Court or jury will eventually make the final determination of whether

Grupo and Ovlas are each an agency or instrumentality of the FARC. But just because the

affidavit concludes with Mr. Gaddis’s opinion, based on facts and applying the plain and

ordinary meaning of those terms, does not support striking the affidavit, and certainly not the

entire affidavit, when the only opinion is in the final paragraph.




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IV.     Conclusion

        For all the reasons stated herein, the Motion to Strike should be denied.

        Dated this 14th day of December, 2015.        Respectfully submitted,

                                                      /s/ Brett E. von Borke
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                                 CERTIFICATE OF SERVICE


      I HEREBY CERTIFY that on December 14, 2015, I electronically filed the foregoing

document with the Clerk of the Court using CM/ECF.


                                                 /s/ Brett E. von Borke
                                                 Brett E. von Borke, Esq.




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